Case 2:05-Cv-02203-.]PI\/|-tmp Document 8 Filed 06/16/05 Page 1 of 2 Page|D 12

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UNITED sTATEs DISTRICT cotJR'f'“-'fZD
wEsTERN DISTRICT oF TENNESSE;;M 15 me 39

 

 

wEsTERN DIVISION POBEH \ d `H@,J@
f *' 1 ?"€W~PH\S

VINCENT LANIER, JUDGMENT IN A CIVIL CASE

Plaintiff,
'V'.
RICHARD HOLIDAY, et al. , cASE No: 05-2203 Ml/P

Defendants.

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Denying Motion for Remand Order of Dismissal, Order
Certifyinq Appeal Not Taken In Good Faith Order Assessing
Appellate Filing Fee, Order Reaffirming Previous Sanctions, and
Order Imposinq Monetary Sanction of $250, entered June/%?, 2005,
this case is DISMISSED.

:§:Q mr 010

ON MCCALLA
UNI ED STATES DISTRICT COURT

 

J:Mt /Lf 200/§ mem R.D\Tnouo

Date Clerk of Court

mw

Deputy Clerk

 

 

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UNITED`TATES DISTCRIT COURT - WESTERNDISTCRIT oFTi\iNEEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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Honorable .1 on McCalla
US DISTRICT COURT

